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                     UNITED STATES DISTRICT COURT
                       DISTRICT OF CONNECTICUT

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                               :
SYED A. BABAR,                 :
                               :
          Petitioner,          :
                               :
     v.                        :        Civ. No.    3:13-CV-01095(AWT)
                               :
UNITED STATES OF AMERICA,      :
                               :
          Respondent.          :
                               :
-------------------------------x


                         RULING ON MOTION TO
                VACATE, SET ASIDE OR CORRECT SENTENCE


  Petitioner Syed A. Babar (“Babar”), proceeding pro se, filed a

motion pursuant to 28 U.S.C. § 2255 to vacate, set aside or

correct his sentence.     He makes two claims:      (1) that his

attorney’s advice to reject an initial plea agreement

constituted constitutionally ineffective assistance of counsel,

and (2) that Alleyne v. United States, 133 S. Ct. 2151 (2013),

rendered his plea invalid.      The court concluded that a hearing

was necessary and appointed counsel for Babar.          For the reasons

set forth below, the motion is being denied after that hearing.

  I.     FACTUAL AND PROCEDURAL BACKGROUND

       From 2006 to 2010, Babar was the ring leader of a mortgage

fraud ring that obtained millions of dollars in residential real

estate loans through the use of sham sales contracts, false loan
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applications and fraudulent property appraisals.           The scheme

involved nearly 30 properties in Connecticut, most of which

ended up in foreclosure.       Babar’s conduct, and that of his co-

defendants, resulted in a loss of over $4 million to various

private lenders and to the Federal Housing Administration, which

insured many of the loans that were fraudulently obtained.

    Babar was charged in a Second Superseding Indictment on

July 29, 2010. He had been arrested on the initial Indictment on

May 10, 2010. Jury selection was scheduled for March 14,

2011.    On February 1, 2011, Babar changed his plea to guilty on

all fourteen counts charged against him in the Second

Superseding Indictment.

    Babar argued in his sentencing memorandum that the

recommended sentencing guidelines range of 108 to 135 months in

the Presentence Report was “harsher than the sentences received

by all the other co-defendants” and created a “sentencing

disparity” with “co-defendants who had significant roles during

the conspiracy.”      Def.’s Sentencing Mem. at 31.       Babar also

argued in his sentencing memorandum that a downward departure

was necessary to mitigate the allegedly cumulative effects of

overlapping sentencing enhancements pursuant to United States v.

Lauersen, 348 F.3d 329 (2d Cir. 2003), and United States v.

Jackson, 346 F.3d 22 (2d Cir. 2003).




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    The court sentenced Babar to 120 months of imprisonment.

He appealed his sentence.       U.S. v. Babar, 512 Fed.Appx. 78 (2

Cir. 2013).     In his appeal, Babar made five arguments.         First,

Babar argued that the leadership role enhancement imposed at his

sentencing was not supported by sufficient factual findings.

Second, Babar claimed that his sentence was grossly

disproportionate to the lesser sentences received by his co-

defendants.     Third, he contended that the district court should

have given him an additional one-point reduction for his

acceptance of responsibility.        Fourth, he argued that he should

have received a downward departure for overlapping sentencing

enhancements.     Finally, he maintained that his sentence was

substantively unreasonable.       The Second Circuit found all of

Babar’s arguments unpersuasive and upheld the sentence.

  II.    LEGAL STANDARD

    Federal prisoners can challenge a criminal sentence

pursuant to 28 U.S.C. § 2255 “only for a constitutional error, a

lack of jurisdiction in the sentencing court, or an error of law

or fact that constitutes a fundamental defect which inherently

results in complete miscarriage of justice.”          Graziano v. United

States, 83 F.3d 587, 590 (2d Cir. 1996) (internal citation and

quotation marks omitted).       A petitioner may obtain review of his

claims if he has raised them at trial or on direct appeal; if

not, such a procedural default can be overcome by a showing of

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“cause” and “prejudice”, Ciak v. United States, 59 F.3d 296, 302

(2d Cir. 1995) abrogated on other grounds by Mickens v. Taylor,

535 U.S. 162 (2002) (quoting Wainwright v. Sykes, 433 U.S. 72,

87 (1977)), or a showing of constitutionally ineffective

assistance of counsel, see Murray v. Carrier, 477 U.S. 478, 487-

88 (1986); Johnson v. United States, 313 F.3d 815, 817 (2d Cir.

2002).

    To prevail on an ineffective assistance of counsel claim,

the petitioner must show that his “counsel’s representation fell

below an objective standard of reasonableness” and that “there

is a reasonable probability that, but for counsel’s

unprofessional errors, the result of the proceeding would have

been different.”   Strickland v. Washington, 466 U.S. 668, 688,

694 (1984).   “The court ‘must indulge a strong presumption that

counsel’s conduct falls within the wide range of reasonable

professional assistance,’ bearing in mind that ‘[t]here are

countless ways to provide effective assistance in any given

case’ and that ‘[e]ven the best criminal defense attorneys would

not defend a particular client in the same way.’”        United States

v. Aguirre, 912 F.2d 555, 560 (2d Cir. 1990) (quoting

Strickland, 466 U.S. at 689).     Courts should not second-guess

the decisions made by defense counsel on tactical and strategic

matters.   See United States v. Luciano, 158 F.3d 655, 660 (2d

Cir. 1998).   “The court’s central concern is not with ‘grad[ing]

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counsel’s performance,’ but with discerning ‘whether, despite

the strong presumption of reliability, the result of the

particular proceeding is unreliable because of a breakdown in

the adversarial process that our system counts on to produce

just results.’”    Aguirre, 912 F.2d at 561 (quoting Strickland,

466 U.S. at 696-67) (internal citations omitted)).

  III. DISCUSSION

         A. Ineffective Assistance of Counsel

       In Ground One Babar alleges that

       Counsel rendered ineffective assistance when he advised
       Babar to reject the government's plea offer and later
       advised him to plead guilty in open Court to the 14 Counts
       in the indictment which resulted in a longer sentence.

Sec. 2255 Mot., Mem. in Supp., Doc. No. 1-2, at 2 (“Doc. No. 1-

2”).   Babar also alleges that he would have accepted the initial

plea agreement had he been advised properly.

       In his post-hearing brief, Babar argues that (1) his

counsel, Attorney Hasse (“Hasse”), was ineffective when he

advised Babar to reject a plea agreement offered by the

government; (2) in the alternative, his counsel was ineffective

because he provided no advice on whether Babar should accept the

government’s offer; (3) his counsel was ineffective by allowing

him to lose the benefit of the third point for acceptance of

responsibility; and (4) his counsel was ineffective because he

failed to move for a third point for acceptance of


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responsibility.   The court finds each of these arguments

unpersuasive.

    Babar was offered three plea agreements before ultimately

pleading guilty without a plea agreement.       The October 7, 2010

plea agreement contained a stipulation that the petitioner’s

advisory Sentencing Guidelines range was 97-121 months of

imprisonment, based on a Total Offense Level of 30.        In arriving

at that calculation, the parties included a three-level decrease

for acceptance of responsibility under Guidelines § 3E1.1.            The

agreement also included a stipulation of offense conduct, and a

waiver of Babar’s right to appeal or collaterally attack his

sentence if his sentence did not exceed 121 months of

imprisonment.

    On December 3, 2010, government counsel advised Babar’s

counsel that the October 7, 2010 plea agreement would expire on

December 17, 2010.   The government advised Hasse that, if Babar

went to trial, it would make a substantial difference in the way

the government would have to prepare for trial, and that this

deadline was necessary in order to give the government an

appropriate amount of time to prepare.      Government counsel

stated that this deadline gave the government the minimum time

required.

    On December 11, 2010, Hasse visited Babar to discuss that

deadline.   Hasse later requested an extension, and eventually

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government counsel agreed to extend the deadline for accepting

the first plea agreement to January 10, 2011.

    When the October 7, 2010 agreement was not accepted by

January 10, 2011, counsel for the government sent the first of

two plea agreements dated January 11, 2011.       This revised plea

agreement also contained a stipulation of offense conduct.            It

stated that the parties had no agreement as to whether Babar

qualified for acceptance of responsibility under § 3E1.1.         It

contained a waiver of right to appeal or collaterally attack the

sentence if the sentence did not exceed 168 months of

imprisonment, a five-year term of supervised release and a

$175,000 fine.   Later that day, government counsel sent Hasse a

slightly revised plea agreement which had the same provisions

with respect to acceptance of responsibility and the appellate

waiver.

    On February 1, 2011 Babar pled guilty to all counts in the

Second Superseding Indictment, without any plea agreement.            At

the plea hearing, Babar indicated that his mind was clear and

that he understood everything that was occurring in court.            See

T.2/1/11 at 8.   He advised the court that he had read and

discussed with his attorney the memorandum filed by the

government in connection with his plea.        See T.2/1/11 at 10-11.

Babar was asked whether he was “satisfied” to have Hasse

represent him.   T.2/1/11 at 10.       Babar answered “yes.”   Id.

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Subsequently, when Hasse noted that “There wasn’t an appeal

waiver,” Babar interjected, “That’s why I choose to do open

plea”.   T.2/1/11 at 17.

    An attorney “must give the client the benefit of counsel’s

professional advice [on whether to plead]”, but “the decision

must ultimately be left to the client’s wishes.        Boria v. Keane,

99 F.3d 492, 497 (2d. Cir. 1996).

    In his affidavit, Babar states with respect to the October

7, 2010 plea agreement that “I was prepared to accept the plea

offer but Hasse advised me to reject it stating, “it doesn’t

allow [him] to object to the enhancement.”       Babar Aff., Doc. No.

1-1, at 1.   During the evidentiary hearing Hasse testified about

his discussions with his client concerning this plea agreement:

    Q. So you in fact advised Mr. Babar to reject this
    plea agreement, did you not?

    A. No.

    Q. You advise[d] him to accept this plea agreement?

    A. I don't advise anybody to accept or reject a plea
    agreement. What I do is I explain to them the terms of
    it. The ultimate decision is the Court's. This is a
    recommendation made between the government and defense
    counsel for the Court to consider in imposing sentence.
    A whole lot of other things come into play. With
    Mr. Babar a whole lot of things came into play as well.
    And he went through the plea agreement. He would never
    agree with all –

    Q. Just so we're clear, you don't advise your clients
    whether to plead guilty or not?

    A. That's an ultimate decision that's up to the

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     client.

     Q. But you don't give them advice about whether to
     enter into a plea agreement with the government or not?

     A. I give them the benefits and drawbacks of whatever
     decision they make. I also share with them some
     background that I have with the Sentencing Guidelines,
     with the sentencing judge and other things that come
     into play when you have to make an important decision
     like that.

5/16/2016 Evidentiary Hr’g Tr. page 23, line 9 to page 24, line

8.   The court finds this testimony credible, and it reflects

that Babar’s counsel did not give ineffective assistance.          The

petitioner made a zealous effort to persuade the court that his

former counsel was not credible but fell well short of

persuading the court that this was so.

     Babar suggests that Hasse advised him to reject the

proposed plea agreements because he was interested in extending

the negotiations in order to increase his attorney’s fees.             He

points to deficiencies in Hasse’s recordkeeping and billing

practices and how high the fee ultimately was.         With respect to

Hasse’s visits to his client at Wyatt Detention Center, he

points to discrepancies between Hasse’s billing records and the

visitor log at Wyatt (failing to acknowledge that the Wyatt

records indicate Hasse visited Babar at the detention center on

more occasions than he actually billed for).        Babar argues that

Hasse was evasive when responding to questions from Babar’s new

attorney, but that was not the conclusion the court reached.

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    Rather, the court concludes that, after reviewing the plea

agreements with his counsel, Babar rejected each one because

Babar had objections, and that the decision to reject each plea

agreement was one Babar made knowingly and voluntarily.         Babar’s

comments during the plea hearing (i.e., when he interjected that

the reason he was choosing to do an open plea was because there

was not an appellate waiver) reflect not only that particular

provisions were important to him, but also how actively involved

he was.   No one had put a question to Babar at the time he made

that statement.    He simply interjected.

    The defendant’s second argument is that, in the

alternative, Hasse was ineffective by not providing any advice

to Babar as to whether he should accept the government’s plea

offer.    This alternative argument fails because it is based on a

false premise.    The petitioner argues that Hasse testified that

he provided no advice on the plea agreement.        That is not so.

Rather his testimony is as set forth above.

    The petitioner’s third argument is that his counsel was

ineffective by allowing him to lose the benefit of the third

point for acceptance of responsibility under Guidelines

§ 3E1.1(b).   Babar argues that his counsel could have preserved

his right to the third point by conveying to the government

prior to the expiration of the deadline set by the government

that Babar remained willing to plead guilty, without a plea

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agreement if necessary.    He emphasizes the language in § 3E1.1

which reads: “by timely notifying authorities of intention to

enter a plea of guilty”.    U.S.S.G § 3E1.1.     But he does not

adequately take into account the additional qualifying phrase:

“thereby permitting the government to avoid preparing for trial

. . .”   Id.   Thus, as is also discussed below with respect

Babar’s fourth argument, a defendant cannot simply notify the

government that he or she wishes to plead guilty and thereby

reserve a third point while still causing the government to

prepare for trial.

    The petitioner’s fourth argument is that his former counsel

was ineffective because, at sentencing, he failed to move for a

third point for acceptance of responsibility.        “The plain

language of § 3E1.1(b) refers only to the prosecution resources

saved when the defendant's timely guilty plea ‘permit[s] the

government to avoid preparing for trial.’”       United States v.

Lee, 653 F.3d 170, 174 (2d Cir. 2011) (citing U.S.S.G §

3E1.1(b)) (emphasis in original).       “[T]he Government is in the

best position to determine whether the defendant has assisted

authorities in a manner that avoids preparing for trial”.

U.S.S.G § 3E1.1 cmt. n.6.

    The petitioner argues that the government was put on notice

that he intended to plead guilty before it was necessary for the

government to begin preparing for trial and that the government

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“did not receive any contrary indication before it determined

not to move for the third point.”       Pet’r’s Post-Hr’g Br. (“Doc.

No. 29”) at 42-43.   The petitioner also contends that the

government knew he intended to plead guilty no later than

December 17, 2010.   He states:

    In its sentencing memorandum, it disingenuously wrote: “The
    government had to prepare for a lengthy trial against Babar
    long before he decided to plead guilty on February 1, 2011.
    He did not timely notify the government of his intention to
    enter a guilty plea, and as a result he did not permit the
    government to avoid preparing for his trial and permit it
    [to] save resources in avoiding such preparation.”

Doc. No. 29 at 18-19 (citing United States v. Babar,

3:10cr93(AWT), Doc. No. 694: Gov’t Sentencing Mem. at 18).

    However, this was a multi-defendant case where Babar was

the central figure in the mortgage fraud ring, and it is clear

to the court, based on presiding over the trial, that the

government had no choice but to continue to prepare for trial as

if Babar was going to be part of the trial until such time as he

had entered a guilty plea.     In fact, at sentencing the court

observed that it would have been a “much more difficult trial”

had Babar gone to trial.     T.11/28/11 at 30.     There would have

simply not been sufficient time to do the necessary preparation

if the government had relied on an indication that Babar would

plead guilty but he chose not to do so.

    As the government notes in its post-hearing brief, it had a

legitimate concern whether Babar would actually plead guilty.

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Moreover, the court agrees that “[t]he intent of the third point

. . . . is not to allow a defendant to say that they intend to

plead guilty, stall until the Government has prepared for the

trial, and then claim their third point.       The Petitioner’s

argument would nullify the third point provision from the

guidelines, allowing a defendant to reserve a third point early

in negotiations, while still causing the Government to prepare

for trial.”   Gov’t’s Resp., Doc. No. 30, at 6.

    For these reasons, the court concludes that Babar did not

receive ineffective assistance of counsel.

       B. Alleyne

    In Ground Two Babar asserts that

    [t]he Supreme Court's decision in Alleyne v. United States,
    No. 11-9335, June 17, 2013 requiring an indictment to define
    the facts that increase the floor of the punishment affixed to
    the statute, renders Counts 1, 2-9 and Count 10 absent of the
    actual notice requirement and in violation of the due process
    clause of the Fifth Amendment and the notice and jury trial
    guarantees of the Sixth Amendment, rendering his plea not
    knowing and voluntary.

Doc. No. 1-2 at 9.

    Babar takes as his starting point the fact that he was

convicted under statutes which provide that persons who commit

such offenses shall be fined and/or imprisoned.        See 18 U.S.C. §

371 (Count One: a fine and/or up to 5 years for conspiracy), 18

U.S.C. § 1343 (Counts Two through Nine: a fine and/or up to 10

years per count for wire fraud), and 18 U.S.C. § 1341 (Count

Ten: a fine and/or up to 20 years for mail fraud).         He then

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asserts that the “minimum mandatory penalty” for each offense is

therefore a fine.    Consequently, he argues, the indictment must

define and a jury find facts that increase his punishment to

more than what he calls the “minimum mandatory penalty”, which

is a fine.   Babar states that “what the indictment does not list

are the facts (i.e. monetary amounts) that would aggravate the

minimum penalty from a fine to imprisonment.”        Doc. No. 1-2 at

14. He concludes that “[w]ith Alleyne now requiring the facts

that aggravate the minimum punishment to be put into the

indictment, Babar's indictment suffers a Fifth Amendment and

Sixth Amendment infirmity of failing to provide actual notice

and non-compliance with the due process clause.”        Doc. No. 1-2

at 16.

    In Alleyne v. United States, 133 S. Ct. 2151 (2013), the

Supreme Court held that the constitutional rule announced in

Apprendi v. New Jersey, 530 U.S. 466 (2000), applies to facts

that increase the mandatory minimum punishment for a crime, and

that under Apprendi, any fact (other than the fact of a prior

conviction) that increases a mandatory minimum sentence “is an

‘element’ that must be submitted to the jury and found beyond a

reasonable doubt.”    133 S. Ct. at 2155.     The Court explained

that “the essential Sixth Amendment inquiry is whether a fact is

an element of the crime,” and that “[w]hen a finding of fact

alters the legally prescribed punishment so as to aggravate it,

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the fact necessarily forms a constituent part of a new offense

and must be submitted to the jury.”      Id. at 2162. Because a fact

that increases the minimum “aggravates the legally prescribed

range of allowable sentences,” the Court held, “it constitutes

an element of a separate, aggravated offense that must be found

by the jury.”   Id.   The Court noted, however, that its ruling

did not “mean that any fact that influences judicial discretion

must be found by a jury,” and that it had “long recognized that

broad sentencing discretion, informed by judicial factfinding,

does not violate the Sixth Amendment.”       Id. at 2163.    The Court

of Appeals has held, post-Alleyne, that sentencing judges may

continue to apply the Guidelines based on facts found by a

preponderance of the evidence.     See United States v. Figueroa,

530 Fed. Appx. 40, 41 (2d Cir. 2013).

    In Babar’s case, however, the statutes under which he was

convicted prescribe no mandatory minimum sentences, as

contemplated by Alleyne, only statutory maximums.        The loss

amounts in his case affected the advisory range under the

Sentencing Guidelines, but they did not affect his minimum

sentence.   His case is unlike Alleyne, where the defendant was

convicted and the sentencing judge made judicial findings that

increased the mandatory minimum sentence from five years to

seven years.    It was under those circumstances that the Supreme

Court held that such a finding was an element of the crime that

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must be found by a jury.    Thus Alleyne is inapposite, and Ground

Two must be dismissed because it lacks merit as a matter of law.

  IV.   CONCLUSION

    For the reasons set forth above, the motion to vacate, set

aside or correct sentence pursuant to 28 U.S.C. § 2255 (Doc. No.

1) is hereby DENIED.    The court will not issue a certificate of

appealability because Babar has not made a substantial showing

of the denial of a constitutional right.       See 28 U.S.C. §

2253(c)(2).

    The Clerk shall close this case.

    It is so ordered.

    Signed this 31st day of March, 2017 at Hartford,

Connecticut.


                                        ___________/s/AWT___________
                                               Alvin W. Thompson
                                         United States District Judge




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